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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                          )
                  v.                      )  Civil Action No. 1:23-cv-01599
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

          PLAINTIFF U.S. SECURITIES AND EXCHANGE COMMISSION’S
        EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
              FREEZING ASSETS, GRANTING OTHER RELIEF, AND
         ORDER TO SHOW CAUSE WHY RELIEF SHOULD NOT CONTINUE

       Pursuant to Section 21(d) of the Securities Exchange Act of 1934 (“Exchange Act”) [15

U.S.C. § 78u(d)] and Section 20(b) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.

§§ 77t(b)], Plaintiff U.S. Securities and Exchange Commission (“SEC”) requests that this Court

issue a temporary restraining order:

       (i)     freezing assets (both known and unknown) of Defendant BAM Management US

               Holdings Inc. (“BAM Management”) and BAM Trading Services Inc. (“BAM

               Trading”) (collectively, “BAM”), as set forth in the supporting Memorandum of

               Law and proposed restraining order and specifically including those in Exhibit A

               to the Motion and Proposed Order;

       (ii)    ordering the repatriation and other specified relief concerning the custody and

               control of fiat currency and crypto assets deposited, held, traded, and/or accrued

               by customers on the Binance.US crypto asset trading platform (“Binance.US
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                Platform”) or otherwise held for the benefit of customers of BAM and the

                Binance.US Platform (collectively, “Customer Assets”);

       (iii)    directing Defendants Binance Holdings Limited (“Binance”), BAM Trading,

                BAM Management, and Changpeng Zhao (“Zhao”) to show cause why a

                preliminary injunction should not be entered;

       (iv)     prohibiting Defendants from destroying, altering, or concealing relevant records;

       (v)      requiring sworn accountings from Defendants;

       (vi)     ordering expedited discovery;

       (vii)    authorizing alternative means of service; and

       (viii) ordering any other equitable relief necessary to protect investors and effectuate

                the requested relief.

       The SEC respectfully submits that this relief is necessary on an expedited basis to ensure

the safety of customer assets and prevent the dissipation of available assets for any judgment,

given the Defendants’ years of violative conduct, disregard of the laws of the United States,

evasion of regulatory oversight, and open questions about various financial transfers and the

custody and control of Customer Assets—including by Defendants who claim they are not

subject to the Court’s jurisdiction—as described in the Complaint, Memorandum of Law, and

supporting materials

       In support of this Motion, the SEC relies upon and incorporates by reference the

Complaint, the supporting Memorandum of Law, the Declarations of Sachin Verma and Colby

Steele of the SEC and their respective attachments, and the Certification Pursuant to Federal

Rule of Civil Procedure 65 and Local Rule 65.1 (“Certification”).




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       Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65.1, undersigned counsel

for the SEC has certified in the attached Certification that, contemporaneously with the filing of

the Motion for a Temporary Restraining Order and accompanying materials, the SEC has

provided copies of all pleadings and papers filed in this action to date or to be presented to the

Court at the hearing, including the Motion for a Temporary Restraining Order.

       For all the reasons set forth in the supporting Memorandum of Law, the Complaint, and

the other documents referenced above, the SEC respectfully requests that the Court grant the

SEC’s Motion and issue an order providing all of the relief requested herein. For the Court’s

convenience, the SEC has also contemporaneously filed a proposed order.



Dated: June 6, 2023                    By:    ____/s/___Matthew Scarlato__________________
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                                              Local Rule 83.2(d) pending



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 Donna Norman
 Ann Rosenfield
 Colby Steele
 Martin Zerwitz

 SECURITIES AND EXCHANGE
 COMMISSION




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